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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. BETHEA2023 OK 64Case Number: SCBD-7443Decided: 06/05/2023As Corrected: June 6, 2023THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2023 OK 64, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 

&nbsp;


&nbsp;


STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
KENYATTA RAY BETHEA, Respondent.



ORDER OF 
IMMEDIATE INTERIM SUSPENSION



¶1 On April 6, 2023, this Court entered a Show Cause Order pursuant to Rule 7.3 the Rules Governing Disciplinary Proceedings (RGDP), 5 O.S.2021, ch. 1, app. 1-A, directing Respondent Kenyatta Ray Bethea to show cause by no later than April 20, 2023, why an Order of Immediate Interim Suspension should not be entered. This Court hereby notes that Respondent filed a response on April 20, 2023; that Complainant, the Oklahoma Bar Association, filed a reply on May 4, 2023; and that Respondent filed a sur-reply with leave of court on May 22, 2023.

¶2 If Respondent demonstrates good cause, Rule 7.3 provides: "Upon good cause shown, the Court may decline to enter an order of immediate suspension when it appears to be in the interest of justice to do so, due regard being had to maintaining the integrity of and confidence in the profession." But if Respondent fails to demonstrate good cause, Rule 7.3 provides: "If good cause is not shown, the Court may by order immediately suspend the lawyer from the practice of law until further order of the Court." The Court hereby finds Respondent has failed to demonstrate good cause why an Order of Immediate Interim Suspension should not be entered.

¶3 Having received certified copies of the judgment and sentence on a plea of guilty and having determined that good cause has not been shown for preventing entry of an Order of Immediate Interim Suspension, this Court hereby orders that Kenyatta Ray Bethea is immediately suspended from the practice of law.

¶4 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, Kenyatta Ray Bethea has until Monday, July 10, 2023, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until Monday, July 24, 2023, to respond.

¶5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE ON JUNE 5TH, 2023.


/S/ACTING CHIEF JUSTICE


WINCHESTER, EDMONDSON, COMBS,&nbsp;DARBY, and KUEHN, JJ., concur.

KANE, C.J.; ROWE, V.C.J.; and KAUGER, J., dissent.

GURICH, J., not participating.






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